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                        UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW HAMPSHIRE




United States of America

     v.                                           Case No. 06-cr-92-PB

Derrick Jennings, et al.


                                   O R D E R


     The defendant has moved to continue the May 1, 2007 trial in

the above case, citing the need for additional time to resolve

issues concerning prior convictions in the State of New York.

The government and co-defendant Samuel Ogot, do not object to a

continuance of the trial date.

     Accordingly, for the above reason and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from May 1, 2007 to August 21, 2007.                 In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendants in a speedy

trial.
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      The court will hold a final pretrial conference on July 23,

2007 at 4:00 p.m.

      SO ORDERED.



                                          /s/Paul Barbadoro
                                          Paul Barbadoro
                                          United States District Judge

April 18, 2007

cc:   Michael Iacopino, Esq.
      Donald Kennedy, Esq.
      Terry Ollila, AUSA
      United States Probation
      United States Marshal




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